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  8

  9                         UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11   BETTER NUTRITIONALS, LLC, a                  Case No. 22-cv-02219-SSS-SHK
 12   California Limited Liability Company,
                                                   PLAINTIFF BETTER
 13                      Plaintiff,
                                                   NUTRITIONALS, LLC’S NOTICE
 14                                                OF VOLUNTARY DISMISSAL OF
            vs.
 15                                                ENTIRE ACTION WITHOUT
                                                   PREJUDICE PURSUANT TO RULE
 16   GOLI NUTRITION, INC., (a                     41(a)(1)(A)(i)
      CANADIAN CORPORATION); et al.,
 17

 18                      Defendants.
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 26   TO DEFENDANTS AND ALL INTERESTED PARTIES:
 27         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), plaintiff BETTER
 28   NUTRITIONALS, LLC (“Plaintiff”), by and through its Chapter 7 trustee, Larry D.


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 1    Simons, having been duly appointed as the chapter 7 trustee and representative of
 2    Plaintiff’s bankruptcy estate on March 30, 2023 in Plaintiff’s bankruptcy action,
 3    bearing caption, In re: Better Nutritionals, LLC, United States Bankruptcy Court,
 4    Central District of California, case no. 6:22-bk-14723-MH, hereby dismisses this
 5    entire action without prejudice. None of the opposing parties have served either an
 6    answer or a motion for summary judgment in this action. Fed. R. Civ. Proc.
 7    41(a)(1)(A)(i).
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 9    Dated: April 19, 2023                BG LAW LLP
 10

 11                                        By:      /s/ Jessica L. Bagdanov
                                                   Jessica L. Bagdanov
 12
                                                   Counsel of Record for Plaintiff
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 14   APPROVED:
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 16   _________________________________
 17   LARRY D. SIMONS,
      Chapter 7 Trustee for Better Nutritionals,
 18   LLC, Real Party in Interest and Plaintiff
      Herein
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